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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS

SYMBOLOGY INNOVATIONS, LLC                    §
                                              §
                                              §
Plaintiff,                                    §      Case No: 2:15-cv-00196
                                              §
vs.                                           §      PATENT CASE
                                              §
FRITO-LAY, INC.                               §
                                              §
                                              §
Defendants.                                   §


      NOTICE OF VOLUNTARY DISMISSALWITHOUT PREJUDICE UNDER RULE
           41(a)(1)(A)(i) OF THE FEDERAL RULES OF CIVIL PROCEDURE


        PLEASE TAKE NOTICE THAT Plaintiff Symbology Innovations, LLC, pursuant to

Rule 4l(a)(l)(A)(i) of the Federal Rules of Civil Procedure, hereby voluntarily dismisses its

Complaint against Defendant Frito-Lay, Inc. in Symbology Innovations, LLC v. Frito-Lay, Inc.

(E.D. Tex. Case No. 2:15-CV-00196), without prejudice. In accordance with Rule 41(a)(1)(A)(i),

Symbology states that this notice has been filed prior to service by Frito-Lay, Inc. of an answer.



Dated: April 16, 2015




                                          Respectfully submitted,
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                                                /s/Jay Johnson
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                                    CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service are being
served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3) on this
16th day of April, 2015. Any other counsel of record will be served by first class mail.

                                                /s/Jay Johnson
                                            Jay Johnson
